     Case 1:98-cr-00038-JMS-MJD Document 104 Filed 07/27/16 Page 1 of 17 PageID #: 1385



                                          UNITED STATES DISTRICT COURT
                                                          Southern District of Indiana
                                                               Laura A. Briggs, Clerk of Court

Birch Bayh Federal Building   U.S. Courthouse, Room 104     Winfield K. Denton Federal Building   Lee H. Hamilton Federal Building
& U.S. Courthouse, Room 105   921 Ohio Street               & U. S. Courthouse, Room 304          & U.S. Courthouse, Room 210
46 East Ohio Street           Terre Haute, IN 47807         101 NW Martin Luther King Blvd.       121 West Spring Street
Indianapolis, IN 46204        (812) 231-1840                Evansville, IN 47708                  New Albany, IN 47150
(317) 229-3700                                              (812) 434-6410                        (812) 542-4510


                                                                    July 27, 2016

 Bradley A. Blackington
                                                                               Mark White #05671-028
 UNITED STATES ATTORNEYS OFFICE
                                                                               FCI Hazelton
 10 West Market Street
                                                                               P.O. Box 5000
 Suite 2100
                                                                               Bruceton Mills, WV 26525
 Indianapolis, IN 46204

RE: UNITED STATES OF AMERICA v. MARK WHITE

CAUSE NO: 1:98-cr-00038-LJM-MJD-3

Dear Appellant and Appellee:

Please be advised that the Notice of Appeal filed in 1:98-cr-00038-LJM-MJD-3 has been forwarded to the
United States Court of Appeals for the Seventh Circuit. The Clerk of the Seventh Circuit will assign an
appellate case number, docket the appeal, and notify case participants of the Seventh Circuit case number
assigned to this matter.

Filing a “Designation of Record” in the U.S. District Court case helps ensure that the appropriate documents
(e.g., pleadings and attachments, briefs, exhibits) are effectively transmitted to the Seventh Circuit. A copy of
the docket sheet in this case has been included for your convenience. The docket sheet may be annotated (by
circling docket numbers, or highlighting electronically) to identify the docket entries that are to be included in
the appellate record, then attached as an exhibit to the Designation of Record. The designation may also
simply list the docket entry numbers (all attachments to each entry will be included) along with a description
of the designated documents.

Please review Southern District of Indiana Local Rule 76-1 and Seventh Circuit Rule 10 (enclosed) for guidance
regarding the designation of a record, and comply with the provisions of Federal Rule of Civil Procedure 5
when filing the designation.

Please contact the Clerk’s office with any questions or concerns.

                                                          Sincerely,
                                                          Laura A. Briggs,
                                                          Clerk of Court

                                                          By Laura Townsend, Deputy Clerk
                                                          812-542-4511
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Selected Rules for Reference

Local Rule 76-1 - Designating Additional Items For Record on Appeal

        An appellant designating items for the record on appeal under Circuit Rule 10(a) must serve a proposed joint
        designation on the appellee with the notice of appeal. The parties must then confer and, if they agree, prepare a
        joint designation, highlighting those entries on the court's docket sheet if it is practical to do so. The joint
        designation must be filed with the clerk within 14 days after the notice of appeal is filed. If the parties cannot
        reach agreement on a joint designation, each party must submit a separate designation within 14 days after filing
        the notice of appeal.

        NOTE: The complete Local Rules for the U.S. District Court, Southern District of Indiana,
              are available at: http://www.insd.uscourts.gov/local-rules




CIRCUIT RULE 10. Preparation of Record in District Court Appeals

   (a) Record Preparation Duties. The clerk of the district court shall prepare within 14 days of filing the notice of appeal the
original papers, transcripts filed in the district court, and exhibits received or offered in evidence (with the exceptions
listed below). The transcript of a deposition is "filed" within the meaning of this rule, and an exhibit is "received or
offered," to the extent that it is tendered to the district court in support of a brief or motion, whether or not the rules of the
district court treat deposition transcripts or exhibits as part of the record. These materials may be designated as part of the
record on appeal without the need for a motion under Fed. R. App. P. 10(e). Counsel must ensure that exhibits and
transcripts to be included in the record which are not in the possession of the district court clerk are furnished to the clerk
within fourteen days after the filing of the notice of appeal. The following items will not be included in a record unless
specifically requested by a party by item and date of filing within fourteen days after the notice of appeal is filed or unless
specifically ordered by this court:

        briefs and memoranda,
        notices of filings,
        subpoenas,
        summonses,
        motions to extend time,
        affidavits and admissions of service and mailing,
        notices of settings,
        depositions and notices, and
        jury lists.


  (b) Correction or Modification of Record. A motion to correct or modify the record pursuant to Rule 10(e), Fed. R. App. P.,
or a motion to strike matter from the record on the ground that it is not properly a part thereof shall be presented first to
the district court. That court's order ruling on the motion will be transmitted to this court as part of the record.

  (c) Order or Certification with Regard to Transcript. Counsel and court reporters are to utilize the form prescribed by this
court when ordering transcripts or certifying that none will be ordered. For specific requirements, see Rules 10(b) and
11(b), Fed. R. App. P.

  (d) Ordering Transcripts in Criminal Cases.

  (1) Transcripts in Criminal Justice Act Cases. At the time of the return of a verdict of guilty or, in the case of a bench trial,
an adjudication of guilt in a criminal case in which the defendant is represented by counsel appointed under the Criminal
Justice Act (C.J.A.), counsel for the defendant shall request a transcript of testimony and other relevant proceedings by
    Case 1:98-cr-00038-JMS-MJD Document 104 Filed 07/27/16 Page 3 of 17 PageID #: 1387
completing a C.J.A. Form No. 24 and giving it to the district judge. If the district judge believes an appeal is probable, the
judge shall order transcribed so much of the proceedings as the judge believes necessary for an appeal. The transcript
shall be filed with the clerk of the district court within 40 days after the return of a verdict of guilty or, in the case of a
bench trial, the adjudication of guilt or within seven days after sentencing, whichever occurs later. If the district judge
decides not to order the transcript at that time, the judge shall retain the C.J.A. Form No. 24 without ruling. If a notice of
appeal is filed later, appointed counsel or counsel for a defendant allowed after trial to proceed on appeal in forma
pauperis shall immediately notify the district judge of the filing of a notice of appeal and file or renew the request made
on C.J.A. Form No. 24 for a free transcript.

  (2) Transcripts in Other Criminal Cases. Within 14 days after filing the notice of appeal in other criminal cases, the
appellant or appellant's counsel shall deposit with the court reporter the estimated cost of the transcript ordered pursuant
to Rule 10(b), Fed. R. App. P., unless the district court orders that the transcript be paid for by the United States. A non-
indigent appellant must pay a pro rata share of the cost of a transcript prepared at the request of an indigent co-defendant
under the Criminal Justice Act unless the district court determines that fairness requires a different division of the cost.
Failure to comply with this paragraph will be cause for dismissal of the appeal.

   (e) Indexing of Transcript. The transcript of proceedings to be transmitted to this court as part of the record on appeal
(and any copies prepared for the use of the court or counsel in the case on appeal) shall be bound by the reporter in a
volume or volumes, with the pages consecutively numbered throughout all volumes. The transcript of proceedings, or the
first volume thereof, shall contain a suitable index, which shall refer to the number of the volume as well as the page, shall
be cumulative for all volumes, and shall include the following information:

  (1) An alphabetical list of witnesses, giving the pages on which the direct and each other examination of each witness
begins.

  (2) A list of exhibits by number, with a brief description of each exhibit indicating the nature of its contents, and with a
reference to the pages of the transcript where each exhibit has been identified, offered, and received or rejected.

 (3) A list of other significant portions of the trial such as opening statements, arguments to the jury, and instructions,
with a reference to the page where each begins.

When the record includes transcripts of more than one trial or other distinct proceeding, and it would be cumbersome to
apply this paragraph to all the transcripts taken together as one, the rule may be applied separately to each transcript of
one trial or other distinct proceeding.

  (f) Presentence Reports. The presentence report is part of the record on appeal in every criminal case. The district court
should transmit this report under seal, unless it has already been placed in the public record in the district court. If the
report is transmitted under seal, the report may not be included in the appendix to the brief or the separate appendix
under Fed. R. App. P. 30 and Circuit Rule 30. Counsel of record may review the presentence report at the clerk's office but
may not review the probation officer's written comments and any other portion submitted in camera to the trial judge.

  (g) Effect of Omissions from the Record on Appeal. When a party's argument is countered by a contention of waiver for
failure to raise the point in the trial court or before an agency, the party opposing the waiver contention must give the
record cite where the point was asserted and also ensure that the record before the court of appeals contains the relevant
document or transcript.



        NOTE: The complete Federal Rules of Appellate Procedure & Rules of the 7th Circuit Court of Appeals
        are available at: http://www.ca7.uscourts.gov/Rules/Rules/rules.pdf
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                                          UNITED STATES DISTRICT COURT
                                                          Southern District of Indiana
                                                               Laura A. Briggs, Clerk of Court

Birch Bayh Federal Building   U.S. Courthouse, Room 104     Winfield K. Denton Federal Building   Lee H. Hamilton Federal Building
& U.S. Courthouse, Room 105   921 Ohio Street               & U. S. Courthouse, Room 304          & U.S. Courthouse, Room 210
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Indianapolis, IN 46204        (812) 231-1840                Evansville, IN 47708                  New Albany, IN 47150
(317) 229-3700                                              (812) 434-6410                        (812) 542-4510




                                                                    July 27, 2016


RE: UNITED STATES OF AMERICA v. MARK WHITE

CAUSE NO: 1:98-cr-00038-LJM-MJD-3


Dear Appellant:

A Notice of Appeal was filed in the above case on July 26, 2016. However, a “Docketing Statement” was not
filed along with the Notice of Appeal, as required by Circuit Rule 3(c) of the U.S. Court of Appeals for the
Seventh Circuit. A copy of the rule is attached for reference.

Pursuant to the Seventh Circuit Rule 3(c), the appellant must serve on all parties a docketing statement and file
said statement with the Clerk of for the Seventh Circuit within seven (7) days of the filing of the Notice of
Appeal.

IMPORTANT: Please do not submit the docketing statement to the U.S. District Court case. The docketing
statement must be submitted to the Seventh Circuit at the address below:

          Gino Agnello, Clerk
          United States Court of Appeals
          219 South Dearborn Street, Suite 2722
          Chicago, IL 60604

Please contact the Clerk’s office with any questions or concerns.

                                                          Sincerely,
                                                          Laura A. Briggs,
                                                          Clerk of Court

                                                          By Laura Townsend, Deputy Clerk
                                                          812-542-4511
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Selected Rules for Reference
CIRCUIT RULE 3. Notice of Appeal, Docketing Fee, Docketing Statement, and Designation of Counsel of Record

  (a) Forwarding Copy of Notice of Appeal. When the clerk of the district court sends to the clerk of this court a copy of the
notice of appeal, the district court clerk shall include any docketing statement. In civil cases the clerk of the district court
shall include the judgments or orders under review, any transcribed oral statement of reasons, opinion, memorandum of
decision, findings of fact, and conclusions of law. The clerk of the district court shall also complete and include the
Seventh Circuit Appeal Information Sheet in the form prescribed by this court.

  (b) Dismissal of Appeal for Failure to Pay Docketing Fee. If a proceeding is docketed without prepayment of the docketing
fee, the appellant shall pay the fee within 14 days after docketing. If the appellant fails to do so, the clerk is authorized to
dismiss the appeal.

  (c)(1) Docketing Statement. The appellant must serve on all parties a docketing statement and file it with the clerk of the
district court at the time of the filing of the notice of appeal or with the clerk of this court within seven days of filing the
notice of appeal. The docketing statement must comply with the requirements of Circuit Rule 28(a). If there have been
prior or related appellate proceedings in the case, or if the party believes that the earlier appellate proceedings are
sufficiently related to the new appeal, the statement must identify these proceedings by caption and number. The
statement also must describe any prior litigation in the district court that, although not appealed, (a) arises out of the same
criminal conviction, or (b) has been designated by the district court as satisfying the criteria of 28 U.S.C. §1915(g). If any of
the parties to the litigation appears in an official capacity, the statement must identify the current occupant of the office.
The docketing statement in a collateral attack on a criminal conviction must identify the prisoner's current place of
confinement and its current warden; if the prisoner has been released, the statement must describe the nature of any
ongoing custody (such as supervised release) and identify the custodian. If the docketing statement is not complete and
correct, the appellee must provide a complete one to the court of appeals clerk within 14 days after the date of the filing of
the appellant's docketing statement.

   (2) Failure to file the docketing statement within 14 days of the filing of the notice of appeal will lead to the imposition
of a $100 fine on counsel. Failure to file the statement within 28 days of the filing of the notice of appeal will be treated as
abandonment of the appeal, and the appeal will be dismissed. When the appeal is docketed, the court will remind the
litigants of these provisions.

  (d) Counsel of Record. The attorney whose name appears on the docketing statement or other document first filed by that
party in this court will be deemed counsel of record, and a separate notice of appearance need not be filed. If the name of
more than one attorney is shown, the attorney who is counsel of record must be clearly identified. (There can be only one
counsel of record.) If no attorney is so identified, the court will treat the first listed as counsel of record. The court will
send documents only to the counsel of record for each party, who is responsible for transmitting them to other lawyers for
the same party. The docketing statement or other document must provide the post office address and telephone number
of counsel of record. The names of other members of the Bar of this Court and, if desired, their post office addresses, may
be added but counsel of record must be clearly identified. An attorney representing a party who will not be filing a
document shall enter a separate notice of appearance as counsel of record indicating the name of the party represented.
Counsel of record may not withdraw, without consent of the court, unless another counsel of record is simultaneously
substituted.



        NOTE: The complete Federal Rules of Appellate Procedure & Rules of the 7th Circuit Court of Appeals
        are available at: http://www.ca7.uscourts.gov/Rules/Rules/rules.pdf
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Case 1:98-cr-00038-JMS-MJD Document 104 Filed 07/27/16 Page 7 of 17 PageID #: 1391
Case 1:98-cr-00038-JMS-MJD Document 104 Filed 07/27/16 Page 8 of 17 PageID #: 1392




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


    UNITED STATES OF AMERICA,                     )
                                                  )
                                 Plaintiff,       )
                                                  )
                           vs.                    )         No. 1:98-cr-00038-LJM-MJD
                                                  )
    MARK WHITE (03),                              )
                                                  )
                                 Defendant.       )

                                              ORDER

          Defendant Mark White (“Defendant”) has responded to the Order to Show Cause

  arguing that he has paid the fine issued by the Court of Appeals for the Seventh Circuit

  in its Cause No. 14-2138. A check of that docket reveals that he paid the fine on February

  10, 2015. On the merits of Defendant’s Motion for Certificate of Appealability, and Motion

  for Leave to Appeal in forma pauperis, the Motions are DENIED for the reasons stated by

  the Court in its Order dated January 9, 2015. Specifically, a certificate of appealability

  can only be considered in conjunction with a motion for relief pursuant to 28 U.S.C. §

  2255; however, here, that matter has long been laid to rest. To the extent Defendant

  seeks to file a successive § 2255 motion, he must seek leave to do so with the Seventh

  Circuit Court of Appeals.

          IT IS SO ORDERED.



          07/12/2016
  DATE: ________________                      ________________________________
                                              LARRY J. McKINNEY, JUDGE
                                              United States District Court
  Distribution attached.
                                              Southern District of Indiana
Case 1:98-cr-00038-JMS-MJD Document 104 Filed 07/27/16 Page 9 of 17 PageID #: 1393




  Distribution:

  Mark White
  Reg. No. 05671-028
  Federal Correctional Institution – Hazelton
  P.O. Box 5000
  Bruceton Mills, WV 26525

  Bradley A. Blackington
  UNITED STATES ATTORNEY'S OFFICE
  bradley.blackington@usdoj.gov
CM/ECF LIVE                                                              Page 1 of 8
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                     *** PUBLIC DOCKET ***
                                                                   APPEAL,MANDATE,CLOSED

                              U.S. District Court
                   Southern District of Indiana (Indianapolis)
            CRIMINAL DOCKET FOR CASE #: 1:98-cr-00038-LJM-MJD-3


 Case title: USA v. SPRADLEY et al                         Date Filed: 03/10/1998
                                                           Date Terminated: 12/10/1999

 Assigned to: Judge Larry J. McKinney
 Referred to: Magistrate Judge Mark J.
 Dinsmore
 Appeals court case numbers: 14-2138 -
 Mandate 7th Circuit, 15-2812 -
 Mandate 7th Circuit

 Defendant (3)
 MARK WHITE                                  represented by William H. Dazey , Jr.
 TERMINATED: 12/10/1999                                     INDIANA FEDERAL COMMUNITY
 agent of                                                   DEFENDERS
 MILK D                                                     111 Monument Circle
 TERMINATED: 12/10/1999                                     Suite 3200
 agent of                                                   Indianapolis, IN 46204
 RAT                                                        (317) 383-3520
 TERMINATED: 12/10/1999                                     Fax: (317) 383-3525
 agent of                                                   Email: bill.dazey@fd.org
 DEMARCO BLACK                                              TERMINATED: 07/10/2015
 TERMINATED: 12/10/1999                                     ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

 Pending Counts                                             Disposition
 21:841A=CD.F CONTROLLED
 SUBSTANCE - SELL, DISTRIBUTE,
 OR DISPENSE
 (1)
 18:1512A.F TAMPER W/WITNESS,
 VICTIM, INFORMANT (IF DEATH
 RESULTS)
 (2)
 18:1513.F RETALIATING AGAINST



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 WITNESS, VICTIM
 (3)
 18:924C.F VIOLENT
 CRIME/DRUGS/MACHINE GUN
 (4)
 18:1956-4999.F MONEY
 LAUNDERING - FRAUD, OTHER
 (7)
 18:1956-4999.F MONEY
 LAUNDERING - FRAUD, OTHER
 (8s)
 18:1956-6801.F MONEY
 LAUNDERING - CONTROLLED
 SUBSTANCE - SELL/DISTR/DISP
 (13)
 18:1956-4999.F MONEY
 LAUNDERING - FRAUD, OTHER
 (22)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                          Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                 Disposition
 None



 Plaintiff
 USA                                         represented by Bradley A. Blackington
                                                            UNITED STATES ATTORNEY'S
                                                            OFFICE
                                                            10 West Market Street
                                                            Suite 2100
                                                            Indianapolis, IN 46204
                                                            (317) 226-6333
                                                            Fax: (317) 226-6125
                                                            Email: bradley.blackington@usdoj.gov
                                                            ATTORNEY TO BE NOTICED



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                                                             Designation: Government Attorney

                                                             Matthew P. Brookman
                                                             UNITED STATES ATTORNEY'S
                                                             OFFICE - EV
                                                             101 NW Martin Luther King, Jr. Blvd.
                                                             Suite 250
                                                             Evansville, IN 47708
                                                             (812) 465-6475
                                                             Fax: (812) 465-6444
                                                             Email: Matthew.Brookman@usdoj.gov
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Government Attorney

                                                             Melanie C. Conour
                                                             UNITED STATES ATTORNEY'S
                                                             OFFICE
                                                             10 West Market Street
                                                             Suite 2100
                                                             Indianapolis, IN 46204
                                                             (317) 226-6333
                                                             Fax: (317) 226-5953
                                                             Email: melanie.conour@usdoj.gov
                                                             TERMINATED: 08/17/2015
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Government Attorney


 Date Filed       #    Docket Text
 03/10/1998        1 JAMS DOCKET as to MARK WHITE: *** This case was previously
                     maintained in the court's Judicial Automated Management System (JAMS).
                     Pursuant to the court's order dated 12/17/2010, the docket is now transferred to
                     the court's electronic case management system (CM/ECF) *** (Attachments:
                     # 1 Transfer Order) (REO) Modified on 12/22/2010 (REO). (Entered:
                     12/22/2010)
 11/04/2011        4 Letter from Mark White regarding reduction of sentence DEFT-Pro Se (CBU)
                     (Entered: 11/07/2011)
 04/05/2012       12 Letter from Mark White addressed to the Financial Litigation Agent regarding
                     payment due to the judgment (CBU) (Entered: 04/05/2012)
 05/31/2013       17 MOTION to Appoint Counsel by MARK WHITE. (TMA) (Entered:
                     06/03/2013)
 05/31/2013       18 MOTION to proceed in forma pauperis, filed by MARK WHITE.
                     (Attachments: # 1 Trust Fund Account Information) (TMA) (Entered:
                     06/03/2013)
 05/31/2013       19 Submission of Application for Certification of Appealability, by MARK




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                       WHITE. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                       Exhibit D) (TMA) (Entered: 06/03/2013)
 05/31/2013       20 Submission of Docketing Statement, by MARK WHITE. (TMA) (Entered:
                     06/03/2013)
 10/04/2013       21 MOTION for Copies by MARK WHITE. (Attachments: # 1 Envelope)(SWM)
                     (Entered: 10/07/2013)
 03/28/2014       22 Inquiry regarding case from Mark A. White. (Attachments: # 1 Envelope)
                     (SWM) (Entered: 03/31/2014)
 05/08/2014       23 ORDER - The request to proceed in forma pauperis [dkt 18 ] and the motion
                     for attorney representation [dkt 17 ], filed by MARK WHITE (3), are each
                     denied as inapt to the filing discussed in Part I of this Entry. ***SEE
                     ORDER***. Signed by Judge Larry J. McKinney on 5/8/2014. (copy to Mark
                     White via US Mail) (JKS) (Entered: 05/08/2014)
 05/21/2014       24 RESPONSE re 23 Order, by MARK WHITE. (Attachments: # 1 Envelope)
                     (JKS) (Entered: 05/22/2014)
 05/21/2014       25 NOTICE OF APPEAL by MARK WHITE re 23 Order. (No fee paid with this
                     filing) (JKS) (Additional attachment(s) added on 5/22/2014: # 1 Envelope)
                     (JKS). (Entered: 05/22/2014)
 05/22/2014       26 SEVENTH CIRCUIT APPEAL INFORMATION SHEET as to MARK
                     WHITE re 25 Notice of Appeal - Instructions for Attorneys - Parties' Short
                     Record, Instructions, and Designation of Record information attached. (A
                     paper copy of the Short Record was sent on 5/22/2014 to the defendant, via
                     US Mail, at FCI Terre Haute) (LBT) (Entered: 05/22/2014)
 05/22/2014       27 Transmission of Notice of Appeal and Docket Sheet as to MARK WHITE to
                     US Court of Appeals re 25 Notice of Appeal. - for Court of Appeals Use
                     Only. (LBT) (Entered: 05/22/2014)
 05/22/2014       28 USCA Case Number 14-2138 for 25 Notice of Appeal filed by MARK
                     WHITE. (Attachments: # 1 Circuit Rule 3(b) Notice)(JLM) (Entered:
                     05/23/2014)
 06/03/2014       29 ENTRY Directing Further Proceedings in case as to MARK WHITE (3) - The
                     defendant renews his request for the issuance of a certificate of appealability.
                     The defendant shall have through July 2, 2014, in which to supplement his
                     renewed request. The defendant shall have through July 2, 2014 in which to
                     supplement his filing of May 21, 2014 by re-stating with clarity what, if any,
                     relief from his conviction and sentence he now seeks from the trial court and
                     the basis on which he contends that such relief could be granted. He is notified
                     that a request for relief within the scope of 28 U.S.C. § 2255 will be treated as
                     such a request, regardless of the label attached to the filing or filings. Signed
                     by Judge Larry J. McKinney on 6/3/2014. (copy to Mark White via US Mail)
                     (JKS) **Copy emailed to USCA via #14-2138.** Modified on 6/4/2014
                     (JLM). (Entered: 06/03/2014)




https://ecf.insd.circ7.dcn/cgi-bin/DktRpt-insd.pl?127026412129238-L_1_0-1                    7/27/2016
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 06/04/2014       30 MOTION for Leave to Appeal In Forma Pauperis by MARK WHITE.
                     (Attachments: # 1 IFP filed in 2013, # 2 Inmate Account History, # 3 USCA
                     Order Transferring IFP to District Court)(LBT) (Entered: 06/05/2014)
 06/10/2014       31 ORDER denying 30 Defendant's Motion for Leave to Appeal In Forma
                     Pauperis (USCA #14-2138) as to MARK WHITE (3). Signed by Judge Larry
                     J. McKinney on 6/10/2014. (copy to Mark White via US Mail) (JKS)
                     (Entered: 06/10/2014)
 07/02/2014       32 RESPONSE, re 29 Entry filed by MARK WHITE. (Attachments: # 1 Exhibit
                     C - Entry, # 2 Envelope)(DW) (Entered: 07/03/2014)
 09/22/2014       33 MANDATE of USCA (certified copy) as to MARK WHITE re 25 Notice of
                     Appeal (USCA #14-2138) - Mark White filed a petition for rehearing of this
                     court's order denying his application for leave to file a successive collateral
                     attack. This court is not authorized to consider White's motion, 28 U.S.C. §
                     2244(b)(3)(E), which shall be filed without further action by the court. In
                     denying his application just two weeks ago, we warned White that continuing
                     to file frivolous papers would result in sanctions in accordance with Alexander
                     v. United States, 121 F.3d 312 (7th Cir 1997). But White has done just that,
                     continuing to raise the same challenge to his conviction under Crawford v.
                     Washington, 541 U.S. 36 (2004), that he has raised in five previous collateral
                     attacks. Accordingly, we now impose the following SANCTION: White is
                     fined $500. Until he pays that sum in full to the clerk of this court, he is barred
                     from filing further civil suits in the courts of this circuit, in accordance with
                     Support Systems International v. Mack, 45 F.3d 185 (7th Cir. 1995). Any
                     papers he submits attacking his current criminal judgment, including further
                     collateral attacks, shall be returned unfiled and any applications for leave to
                     file collateral attacks will be deemed denied on the 30th day unless the court
                     orders otherwise. (JLM) (Entered: 09/22/2014)
 01/08/2015       34 MOTION for court to consider issues by MARK WHITE. (Attachments: # 1
                     Seventh Circuit Case Search and Entry)(DW) (Entered: 01/09/2015)
 01/09/2015       35 ENTRY AND NOTICE as to MARK WHITE (03). Defendant White sought
                     the issuance of a certificate of appealability. He was instructed to identify the
                     "final adverse order" as to which he seeks such a certificate. He has not done
                     so. Through his filing of July 2, 2014, however, he insists that a certificate of
                     appealability can and should be issued. That is not the case and his request for
                     a certificate of appealability is denied. The reason for this ruling is that a
                     certificate of appealability can be considered in conjunction with the denial of
                     a motion for relief pursuant to 28 U.S.C. § 2255, but that matter here has long
                     since been laid to rest. Additionally, the Court of Appeals' Order of September
                     22, 2014 in No. 14-2138 prohibits White from making or pursuing this and
                     similar requests. Therefore, any relief which can be thought as being requested
                     on the basis of filings heretofore made is denied. Signed by Judge Larry J.
                     McKinney on 1/9/2015. Copy sent to Defendant via U.S. Mail. (BGT)
                     (Entered: 01/12/2015)
 01/13/2015       37 ORDER as to MARK WHITE (3): The defendant's motion for consideration




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                       [dkt 34] is denied in light of the Entry docketed on January 12, 2015
                       confirming his non-entitlement to a certificate of appealability and the effect
                       of the September 22, 2014 Order of the Court of Appeals in No. 14-2138. The
                       motion referred to herein should not have been tendered and should not have
                       been filed. Further attempts to file motions for reconsideration will be denied.
                       Signed by Judge Larry J. McKinney on 1/13/2015. Copy sent via US Mail.
                       (DW) (Entered: 01/13/2015)
 03/02/2015       39 MOTION to Reduce Sentence - USSC Amendment 782 by MARK WHITE.
                     (AH) (Entered: 03/05/2015)
 05/07/2015       40 ORDER TO SHOW CAUSE as to MARK WHITE (03): The Court
                     acknowledges receipt of Defendant Mark White's ("Defendant's") Motion to
                     Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2) under the terms of
                     Amendment 782 to the United States Sentencing Commission guideline
                     ("Amendment 782") ("Defendant's 782 Motion"). Defendant shall have 21
                     days from the date of this Order to supplement his 782 Motion with reasons
                     why the section 3553(a) factors weigh in favor of reducing Defendant's
                     sentence. The United States of America shall have 14 days thereafter to
                     respond. This Order should not be construed as a ruling or comment on the
                     merits or sufficiency of Defendant's 782 Motion (see Order for additional
                     information). Copy to Plainitff via US Mail. Signed by Judge Larry J.
                     McKinney on 5/7/2015. (SWM) (Entered: 05/07/2015)
 05/12/2015       43 Reassignment of Case to Magistrate Judge Mark J. Dinsmore. Magistrate
                     Judge Kennard P. Foster no longer assigned to the case. Please include the
                     new case number ( 1:98-cr-038-LJM-MJD), which includes the initials of the
                     newly assigned judge, on all future filings in this matter. (DJH) (Entered:
                     05/12/2015)
 05/18/2015       46 RESPONSE to Court's Order to Show Cause, filed by MARK WHITE (3)
                     (Attachments: # 1 Envelope)(SWM) (Entered: 05/19/2015)
 05/26/2015       47 RESPONSE in Opposition re 39 MOTION to Reduce Sentence - USSC
                     Amendment 782 by USA as to MARK WHITE (3) (Conour, Melanie)
                     (Entered: 05/26/2015)
 06/08/2015       49 SUPPLEMENT re 46 RESPONSE to Court's Order to Show Cause by MARK
                     WHITE (3). (Attachments: # 1 Envelope)(DW) (Entered: 06/09/2015)
 07/14/2015       54 ORDER denying Defendant's 39 Motion to Reduce Sentence - USSC
                     Amendment 782 for 1 as to MARK WHITE (3). Signed by Judge Larry J.
                     McKinney on 7/14/2015. Copy sent to Defendant via U.S. Mail. (BGT)
                     (Entered: 07/14/2015)
 08/06/2015       56 MOTION for Reconsideration of Court's 54 ORDER denying Defendant's 39
                     Motion to Reduce Sentence - USSC Amendment 782 by MARK WHITE (3).
                     Certificate of Service. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                     C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Envelope)
                     (BGT) (Entered: 08/07/2015)




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 08/12/2015       57 ORDER denying Defendant's 56 Motion for Reconsideration of the Court's
                     Order denying his Motion for Reduction in Sentence pursuant to 18 U.S.C. §
                     3582(c)(2) and Amendment 782 to the U.S. Sentencing Commission
                     Guidelines ("782 Motion") as to MARK WHITE (3). Signed by Judge Larry J.
                     McKinney on 8/12/2015. Copy sent to Defendant via U.S. Mail. (BGT)
                     (Entered: 08/12/2015)
 08/21/2015       61 NOTICE OF APPEAL by MARK WHITE (3) re 54 Order on Motion to
                     Reduce Sentence - USSC Amendment 782 and 57 Order on Motion for
                     Reconsideration. No Certificate of Service. (No fee paid with this filing)
                     (Attachments: # 1 Envelope) (BGT) (Entered: 08/24/2015)
 08/24/2015       62 PARTIES' SHORT RECORD as to MARK WHITE (3) re 61 Notice of
                     Appeal - Instructions for Attorneys and Designation of Record
                     information attached. (A paper copy of the Short Record was sent on
                     8/24/2015 to the defendant, via US Mail, at Terre Haute U.S. Penitentiary )
                     (MAG) (Entered: 08/24/2015)
 08/24/2015       63 Transmission of Notice of Appeal and Docket Sheet as to MARK WHITE (3)
                     to US Court of Appeals re 61 Notice of Appeal. - for Court of Appeals Use
                     Only. (MAG) (Entered: 08/24/2015)
 08/24/2015       64 USCA Case Number as to MARK WHITE (3) 15-2812 for 61 Notice of
                     Appeal filed by MARK WHITE. (MAG) (Entered: 08/25/2015)
 11/13/2015       65 Certified and Transmitted Record on Appeal as to MARK WHITE (3) to US
                     Court of Appeals re 61 Notice of Appeal (USCA #15-2812) **Sealed
                     Documents will be sent as a Supplemental Transmittal via email.**
                     (Attachments: # 1 Pleadings, # 2 Notice to Transmit Record)(LBT) (Entered:
                     11/13/2015)
 11/13/2015       66 Supplemental Record on Appeal transmitted to USCA, via email, as to MARK
                     WHITE (3) re 61 Notice of Appeal (USCA #15-2812). Contents of
                     Supplemental Record: 2 Sealed Documents. (LBT) (Entered: 11/13/2015)
 11/16/2015       67 Appeal Remark as to MARK WHITE (3) re 61 Notice of Appeal filed by
                     MARK WHITE. (USCA #15-2812) Original record on appeal filed
                     electronically. Contents of record : 1 vol. pleadings and 2 sealed records.
                     (MAG) (Entered: 11/16/2015)
 12/29/2015       68 MANDATE of USCA (certified copy) as to MARK WHITE (3) re 61 Notice
                     of Appeal (USCA #15-2812) - IT IS ORDERED that the request for counsel is
                     DENIED and the judgment of the district court is summarily AFFIRMED.
                     (MAG) (Entered: 12/29/2015)
 06/01/2016       96 MOTION for Certificate of Appealability by Defendant MARK WHITE (3).
                     (Attachments: # 1 Exhibits Cover Sheet, # 2 Exhibit A, # 3 Exhibit B, # 4
                     Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9
                     Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Envelope)
                     (GSO) (Entered: 06/03/2016)
 06/01/2016       97 MOTION for Leave to Appeal In Forma Pauperis, filed by Defendant MARK




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                       WHITE (3). (Attachments: # 1 Inmate Inquiry, # 2 Envelope) (GSO) (Entered:
                       06/03/2016)
 06/08/2016       98 ORDER TO SHOW CAUSE as to Defendant MARK WHITE (3) - Defendant
                     Mark White ("Defendant") has moved for an order granting him leave to file
                     another collateral attack on his sentence and to proceed thereon in forma
                     pauperis. Dkt. Nos. 96 & 97. Defendant is hereby ORDERED TO SHOW
                     CAUSE on or before July 8, 2016, why these pleadings should not be stricken
                     pursuant to the sanctions imposed by the Seventh Circuit Court of Appeals in
                     its order dated August 15, 2014. Signed by Judge Larry J. McKinney on
                     6/8/2016. Copy sent to Defendant via US Mail. (GSO) (Entered: 06/09/2016)
 07/06/2016       99 RESPONSE TO ORDER TO SHOW CAUSE, filed by Defendant MARK
                     WHITE (3). (Attachments: # 1 Cover Letter, # 2 Envelope) (GSO) (Entered:
                     07/06/2016)
 07/12/2016      100 ORDER - Defendant Mark White ("Defendant") has responded to the Order to
                     Show Cause arguing that he has paid the fine issued by the Court of Appeals
                     for the Seventh Circuit in its Cause No. 14-2138. A check of that docket
                     reveals that he paid the fine on February 10, 2015. On the merits of
                     Defendant's Motion for Certificate of Appealability, and Motion for Leave to
                     Appeal in forma pauperis, the Motions are DENIED for the reasons stated by
                     the Court in its Order dated January 9, 2015. Specifically, a certificate of
                     appealability can only be considered in conjunction with a motion for relief
                     pursuant to 28 U.S.C. § 2255; however, here, that matter has long been laid to
                     rest. To the extent Defendant seeks to file a successive § 2255 motion, he must
                     seek leave to do so with the Seventh Circuit Court of Appeals. Signed by
                     Judge Larry J. McKinney on 7/12/2016. Copies distributed pursuant to
                     distribution list. (GSO) (Entered: 07/12/2016)
 07/26/2016      103 NOTICE OF APPEAL, filed by Defendant MARK WHITE (3) re Court's 100
                     Order. (No fee paid with this filing) (Attachments: # 1 Envelope) (GSO)
                     (Entered: 07/27/2016)

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